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                                      United States District Court – Western District of Washington
                                                      75$16&5,3725'(5)250


                        &RXUW5HSRUWHU       Andrea Ramirez                                           -XGLFLDO2IILFHU     Jamal N. Whitehead

                           2:25-cv-255-JNW
                &DVH1RBBBBBBBBBBBBBBBBBBBBBB                                        Pacito et al. v. Trump et al.
                                                                            &DVH1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                'DWH V                   3URFHHGLQJVWREHWUDQVFULEHG                           &RXUW5HSRUWHU LIGLIIHUHQWIURPVHOHFWLRQDERYH 
                02/25/2025                Hearing re Motion for Preliminary Injunction




                )RU$SSHDO" ✔ 1R                   <HV                 &RXUWRI$SSHDOV&DVH1RBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                ,I\RXDUHVXEPLWWLQJWKLVIRUPWRGHVLJQDWHWUDQVFULSWVIRUDSSHDORQO\DQGGRQRWZLVKWRUHTXHVWWKHSUHSDUDWLRQRIDQ\WUDQVFULSWVSOHDVH
                VNLSWRDQGFRPSOHWHWKH$GGLWLRQDO&RPPHQWVDQG&RQWDFW,QIRUPDWLRQVHFWLRQVVLJQGDWHDQGVXEPLWWKLVIRUPYLD&0(&)


                 3OHDVHFKRRVHRQH                     0D[LPXP7UDQVFULSW)HHV±3HU3DJH
                                                            2ULJLQDO VW&RS\ QG&RS\      5HTXHVWHG'HOLYHU\'DWH
                           2UGLQDU\7UDQVFULSW GD\                                     02/26/2025
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                   ✔       'DLO\7UDQVFULSW QH[WPRUQLQJ                   VHFXUH\RXUUHTXHVWHGGHOLYHU\GDWH
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                           5HDOWLPH7UDQVFULSW              



                       ✔     3') GHIDXOWGHOLYHU\IRUPDW 
                                                                                   JStarr@perkinscoie.com
                                     (PDLODGGUHVVIRUGHOLYHU\RI3')WUDQVFULSWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                $GGLWLRQDO&RPPHQWV
                If possible, we have requested transcript for delivery next day but understand it may be 3-day turn-around. Thank
                you for your assistance.


                                                                              &RQWDFW,QIRUPDWLRQ
                 1DPH                   Harry H. Schneider, Jr.
                 3KRQH                  206-359-80000           (PDLO                        HSchneider@perkinscoie.com
                 )LUP                   Perkins Coie LLP
                 6WUHHW$GGUHVV         1201 Third Avenue, Suite 4900
                 &LW\6WDWH=LS         Seattle, WA 98101
                %LOOLQJ5HIHUHQFH LIDSSOLFDEOH 




               /s/ Harry H. Schneider, Jr.
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          v 8VHWKLVIRUPWRRUGHUWKHWUDQVFULSWLRQRISURFHHGLQJV&RPSOHWHDVHSDUDWHRUGHUIRUPIRUHDFKFDVHQXPEHU$QRULJLQDOPXVWEH
            RUGHUHGDQGSUHSDUHGSULRUWRWKHDYDLODELOLW\RIFRSLHV7KHRULJLQDOIHHLVFKDUJHGRQO\RQFH

          v 'HOLYHU\7LPH<RX0867FRQWDFWHDFKLQGLYLGXDOFRXUWUHSRUWHUWRVHFXUH\RXUUHTXHVWHGGHOLYHU\GDWHSULRUWRILOLQJWKLVIRUP
            5HTXHVWVIRUGHOLYHU\RIOHVVWKDQGD\VZLOOEHKRQRUHGZKHQSRVVLEOH2QFHFRQWDFWHGWKHFRXUWUHSRUWHUZLOOQRWLI\\RXRIWKH
            DPRXQWRIWKHUHTXLUHGGHSRVLWIHHZKLFKPD\EHPDLOHGRUGHOLYHUHGWRWKHFRXUWUHSRUWHU'HOLYHU\WLPHLVFRPSXWHGIURPWKHGDWH
            RIUHFHLSWRIWKHGHSRVLWIHHRUUHFHLSWRIWKHVLJQHGRUGHUIRUPIURPWKHIHGHUDOJRYHUQPHQW

          v )LOLQJZLWKWKH&RXUW3DUWLHVWRWKHFDVHPXVWHOHFWURQLFDOO\ILOHWKLVIRUPLQWKH&0(&)V\VWHP1RQSDUWLHVDQGSURVHOLWLJDQWV
            VKRXOGGHOLYHUDFRS\RIWKLVIRUPWRWKH&OHUN V2IILFHRUHPDLODFRS\WR7UDQVFULSW2UGHU)RUP#ZDZGXVFRXUWVJRY

                  P ,I\RXDUHD&-$DWWRUQH\UHTXHVWLQJDWUDQVFULSWSOHDVHFRQWDFWWKH&-$3DQHO$GPLQLVWUDWRUWRDVVLVW\RXLQSODFLQJ\RXU
                    WUDQVFULSWRUGHUWKURXJKH9RXFKHU

          v &RPSOHWLRQRI2UGHU7KHFRXUWUHSRUWHUZLOOQRWLI\\RXZKHQWKHWUDQVFULSWLVFRPSOHWHG,IWKHGHSRVLWIHHZDVLQVXIILFLHQWWRFRYHU
            DOOFKDUJHVWKHFRXUWUHSRUWHUZLOOQRWLI\\RXRIWKHEDODQFHGXHZKLFKPXVWEHSDLGSULRUWRUHFHLYLQJWKHFRPSOHWHGRUGHU

          v 127()XOOSULFHPD\EHFKDUJHGRQO\LIWKHWUDQVFULSWLVGHOLYHUHGZLWKLQWKHDJUHHGXSRQWLPHIUDPH)RUH[DPSOHLIDQRUGHUIRU
            H[SHGLWHGWUDQVFULSWLVQRWFRPSOHWHGDQGGHOLYHUHGZLWKLQVHYHQ  FDOHQGDUGD\VSD\PHQWZRXOGEHDWWKHGD\GHOLYHU\UDWH
            DQGLIQRWFRPSOHWHGDQGGHOLYHUHGZLWKLQFDOHQGDUGD\VSD\PHQWZRXOGEHDWWKHRUGLQDU\GHOLYHU\UDWH

          v 'HVLJQDWLRQRI7UDQVFULSWVRQ$SSHDO7KLVIRUPPXVWEHFRPSOHWHGZKHWKHURUQRWWUDQVFULSWVZLOOEHGHVLJQDWHGDQGPXVWEHILOHG
            LQWKHGLVWULFWFRXUWFDVHLQ&0(&)3OHDVHSODFH\RXUWUDQVFULSWRUGHUIDUHQRXJKLQDGYDQFHIRUWKHFRXUWUHSRUWHU V WRFRPSOHWH
            DQGILOHWKHUHTXHVWHGWUDQVFULSWVSULRUWRDQ\1LQWK&LUFXLWGHDGOLQHV

                  P ,I\RXDUHVXEPLWWLQJWKLVIRUPWRGHVLJQDWHWUDQVFULSWVIRUDSSHDORQO\DQGGRQRWZLVKWRUHTXHVWWKHSUHSDUDWLRQRIDQ\
                    WUDQVFULSWVSOHDVHOHDYHWKH7UDQVFULSW)HHV&RPSOHWLRQ'DWHVHFWLRQEODQNFRPSOHWHWKH$GGLWLRQDO&RPPHQWVDQG
                    &RQWDFW,QIRUPDWLRQVHFWLRQVVLJQGDWHDQGVXEPLWWKLVIRUPYLD&0(&)

          v )RUDGGLWLRQDOLQIRUPDWLRQDQGFRXUWUHSRUWHUFRQWDFWLQIRUPDWLRQSOHDVHYLVLWWKH&RXUW VZHEVLWH
